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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,
                                                            Case Number: 09-20523-08
v.                                                          Honorable Thomas L. Ludington

NATHAN JUBAL STOVER,

                  Defendant.
_______________________________________/

      ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING
     DEFENDANT’S PLEA OF GUILTY AS TO COUNT ONE OF THE FOURTH
  SUPERSEDING INDICTMENT, AND TAKING THE RULE 11 PLEA AGREEMENT
                        UNDER ADVISEMENT

       A plea hearing was conducted on September 23, 2011, by United States Magistrate Judge

Charles E. Binder pursuant to the defendant’s consent. The magistrate judge issued his report the

same day, recommending that this Court accept the defendant’s plea of guilty as to count one of the

fourth superseding indictment. As of today’s date, no party has filed any objections to the

magistrate judge’s report and recommendation. The election to not file objections to the magistrate

judge’s report releases the Court from its duty to independently review the record. Thomas v. Arn,

474 U.S. 140, 149 (1985).

       Accordingly, it is ORDERED that the magistrate judge’s report and recommendation (ECF

No. 256) is ADOPTED.
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      It is further ORDERED that the defendant’s plea of guilty as to count one of the fourth

superseding indictment is ACCEPTED, and the Rule 11 Plea Agreement (ECF No. 251) is taken

UNDER ADVISEMENT.

                                                     s/Thomas L. Ludington
                                                     THOMAS L. LUDINGTON
                                                     United States District Judge
Dated: October 24, 2011



                                              PROOF OF SERVICE

                      The undersigned certifies that a copy of the foregoing order was served
                      upon each attorney or party of record herein by electronic means or first
                      class U.S. mail on October 24, 2011.
                                                        s/Tracy A. Jacobs
                                                        TRACY A. JACOBS




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